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18                           UNITED STATES DISTRICT COURT
19                                    DISTRICT OF ARIZONA
20
21
                                                    No. 3:22-cv-08015-DJH
22    Dr. Michael P. Ward, D.O., et al.,

23                      Plaintiffs,
24
      vs.                                           PLAINTIFFS’ RESPONSE TO
25                                                  T-MOBILE’S REQUEST FOR
26                                                  CLARIFICATION
      Bennie G. Thompson, et al.,
27                   Defendants.
28




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 1          Drs. Michael P. Ward and Kelli Ward, on behalf of themselves and Mole
 2   Medical Services, PC (“Mole Medical”) (collectively the “Wards”), submit this
 3   Response to T-Mobile USA, Inc.’s Request for Clarification or, in the Alternative,
 4
     Indicative Ruling.
 5
                              PROCEDURAL BACKGROUND
 6
          On February 1, 2022, Plaintiffs initiated this case by filing a Complaint and
 7
     Motion to Quash a subpoena issued by the Select Committee to T-Mobile seeking
 8
     production of Plaintiffs’ cellular telephone and text message records. After many
 9
     months of extensions, the Select Committee filed a Motion to Dismiss Plaintiffs’
10
     Complaint and an Opposition to Plaintiffs’ Motion to Quash. On September 22, 2022,
11
12   this Court granted the Select Committee’s motion to dismiss and denied Plaintiffs’

13   motion to quash [ECF Doc. No. 55]. In so ruling, the Court wrote:
14
          The Court also notes HIPAA does not preclude the production of PHI
15
          where an adequate protective order is in place. . . . Plaintiffs allege the
16        parties have not discussed the prospect of a protective order or the potential
          PHI the subpoena could implicate. . . . The Court therefore encourages the
17
          parties to engage in discussion regarding the entry of a protective order
18        designed to protect any potential PHI.
19
     Id. at 17-18.
20
21          Plaintiffs immediately filed a Notice of Appeal and a Motion for an Injunction
22   Pending Appeal, or in the Alternative, for an Administrative Injunction [ECF Doc. Nos.
23   56, 57]. On October 7, 2022, this Court denied Plaintiffs’ Motion [ECF Doc. No. 68].
24   In that Order, this Court correctly stated that “the Select Committee clarified at the
25   hearing that it does not seek any of Plaintiffs’ patient telephone numbers, thus assuaging
26   any concerns Plaintiffs have asserted regarding their disclosure.” Id. at 4. The Court
27
     concluded its opinion by noting that the status quo has shifted since the inception of the
28




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 1   case based in representations made by the Select Committee in its briefing and during
 2   oral argument:
 3
                 During the hearing, neither party addressed how the status
 4               quo would be affected if the phone records were released.
 5               (Doc. 66). Based on the parties briefing and oral argument
                 record, the Court finds the status quo has shifted since the
 6               inception of this case. The Congressional Defendants no
 7               longer seek Dr. Michael Ward’s or his children’s phone
                 records and counsel for the Select Committee clarified at the
 8               hearing it does not seek Ms. Ward’s patient phone numbers.
 9               (Doc. 55 at 3 n.4; Doc. 66). To this end, the Court finds the
                 Congressional Defendants have substantially narrowed the
10               subpoena since its initial issuance, and thus shifted the
11               analysis of what is in fact the “status quo.”

12
     Id. at 7. Notably, the Congressional Defendants took no steps to correct or clarify the
13
     record in that regard.
14
15        Plaintiffs then sought an emergency injunction or stay from the Ninth Circuit. On
16   October 22, 2022, in a split-panel decision, the Ninth Circuit denied Plaintiffs’ request
17   for an emergency injunction. On October 24, 2022, Plaintiffs filed an Emergency
18
     Application for a Stay with Supreme Court Justice Kagan (acting as the Circuit Justice
19
     for the Ninth Circuit). On October 26, 2022, Justice Kagan stayed the Ninth Circuit
20
     case and enjoined T-Mobile from releasing the records sought by the Select Committee
21
     pending further order of the Court:
22
23               IT IS ORDERED that the October 22, 2022 order of the
                 [Ninth Circuit] . . . is hereby stayed pending further order of
24               the undersigned or of the Court. Likewise, respondent T-
25               Mobile USA, Inc. is temporarily enjoined from releasing the
                 records requested by the House Select Committee pending
26               further order of the undersigned or of the Court.
27
     Exh. A (attached).
28




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 1             T-Mobile filed the instant Motion for Clarification because the Select Committee
 2       has since walked back its written and oral representations about what it is seeking. T-
 3
         Mobile wrote in its Motion that:
 4
                     Since the issuance of the Order, the Committee has informed
 5                   T-Mobile that it did not, and will not, narrow the Subpoena
 6                   in such a way and that T-Mobile is obligated to produce all
                     records . . . that are responsive to the Committee’s Subpoena,
 7                   without excluding any subset of call records.
 8
         T-Mobile Motion at 1. 1
 9
10                                           ARGUMENT

11
         I.    THE COURT LACKS JURISDICTION OVER THIS MOTION.
12
                “The filing of a notice of appeal is an event of jurisdictional significance”
13
         because “it confers jurisdiction on the court of appeals and divests the district court of
14
         its control over those aspects of the case involved in the appeal.” Griggs v. Provident
15
16       Consumer Disc. Co., 459 U.S. 56, 58 (1982) (per curiam); Webb v. County of Pima,

17       2018 WL 8805978 at *1 (D. Ariz. Sept. 14, 2018). Because Plaintiffs noticed an appeal,

18       and that appeal is now at the Supreme Court, which has stayed the case, it appears that
19       this Court presently lacks jurisdiction to provide the relief requested by T-Mobile.
20
21       II.   IF THE COURT LACKS JURISDICTION, IT DOES NOT HAVE THE
22             “INHERENT POWER” TO DO ANYTHING WITH RESPECT TO THIS
               CASE.
23
24              T-Mobile argues that, notwithstanding the rule set forth in Griggs, district courts
25       have “inherent power” to clarify “non-final” orders. T-Mobile Br. at 3. This Court has
26
27
     1
      By contrast, Plaintiffs’ counsel conferred last week with counsel for T-Mobile about
28
     the need for an agreed protocol to filter patient numbers consistent with the Select
     Committee’s earlier representations.


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 1   dismissed Plaintiffs’ case in its entirety, denied their motion to quash the Select
 2   Committee subpoena; and denied Plaintiffs’ Motion for a Stay Pending Appeal.
 3   Plaintiffs do not understand how this Court’s actions were somehow not “final.”
 4
             T-Mobile observes that the D.C. Circuit permits motions to clarify at the district
 5
     court level even after a notice of appeal is filed. That is true. United States v. All Assets
 6
     Held at Bank Julius, Baer & Co., Ltd., 315 F. Supp. 3d 90, 99 (D.D.C. 2018) (citing
 7
     D.C. Circuit authority). The D.C. Circuit, however, appears to be alone in that practice
 8
     and the Ninth Circuit has never so ruled. Plaintiffs’ position is that if the Court
 9
     presently lacks jurisdiction, it does not presently have the power to take any action with
10
     respect to this case.
11
12           T-Mobile’s reliance on Nat. Res. Def. Council v. Sw. Marine, Inc., 242 F.3d 1163

13   (9th Cir. 2001) is likewise inapt, as the decision was based on a finding that the district
14   court’s modifications to an injunction “did not materially alter the status” of the case
15   on appeal. See 242 F.3d at 1167. By contrast, the relief T-Mobile seeks would
16   significantly alter what this Court believed to be the status quo at the time that it denied
17   Plaintiffs’ motion for an injunction pending appeal. (Doc. 68 at 7).
18
19   III.   RULE 62(d) DOES NOT APPLY.
20
21           T-Mobile next argues that Fed. R. Civ. P. 62(d) permits district courts to modify
22   orders pending appeal even while the appeal is underway. Rule 62(d) provides:
23
24                (d) Injunction Pending an Appeal. While an appeal is
                  pending from an interlocutory order or final judgment that
25                grants, continues, modifies, refuses, dissolves, or refuses to
26                dissolve or modify an injunction, the court may suspend,
                  modify, restore, or grant an injunction on terms for bond or
27                other terms that secure the opposing party’s rights.
28




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 1         Plaintiffs do not understand how Rule 62(d) is applicable to this situation. First,
 2   the Court did not grant a final injunction, so there is no injunction to modify. Second,
 3   Plaintiffs’ appeal is not interlocutory, but from a final judgment of this Court. See
 4
     Notice of Appeal (Doc. 56) (appealing from the Court’s order of dismissal (Doc. 55)).
 5
     The denial of an injunction or stay pending appeal does not magically convert an appeal
 6
     that is taken from a final order into an interlocutory appeal.
 7
     IV.   THE COURT SHOULD FOLLOW RULE 62.1.
 8
 9
           Rule 62.1, which is set forth below and provides the Court with the ability to
10
     make an “indicative ruling,” seems most appropriate for this situation:
11
           Indicative Ruling on a Motion for Relief That is Barred by a Pending
12
     Appeal.
13
14
           (a) Relief Pending Appeal. If a timely motion is made for relief that the
15         court lacks authority to grant because of an appeal that has been docketed
16         and is pending, the court may:

17                (1)    defer considering the motion;
18
                  (2)    deny the motion; or
19
20                (3)    state either that it would grant the motion if the court of
                         appeals remands for that purpose or that the motion raises a
21                       substantial issue.
22
           (b) Notice to the Court of Appeals. The movant must promptly notify the
23         circuit clerk under Federal Rule of Appellate Procedure 12.1 if the district
24         court states that it would grant the motion or that the motion raises a
           substantial issue.
25
26         (c) Remand. The district court may decide the motion if the court of appeals
           remands for that purpose.
27
28




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 1        A.     The Court Should Deny T-Mobile’s Motion Without Prejudice.

 2
            Based on Rule 62.1, Plaintiffs believe that the most appropriate action would be
 3
     for the Court to deny T-Mobile’s motion without prejudice pursuant to Rule 62.1(a)(2)
 4
     due to lack of jurisdiction. Plaintiffs do not see how the district court has the power to
 5
     do anything while the case is in the hands of the Supreme Court and currently stayed.
 6
 7
          B.     In the Alternative, the Court Should Defer Ruling Until After
 8               Remand from the Ninth Circuit.
 9
10          Alternatively, because this Court currently lacks jurisdiction to consider the

11   motion due to the filing of the notice of appeal and the Supreme Court’s stay, it should

12   defer considering the motion pursuant to FRCP 62.1(a)(1) until such time as the
13   Supreme Court lifts the stay.
14          Alternatively, the Court could make a finding that T-Mobile’s motion raises a
15   substantial issue and permit T-Mobile then to notify the Ninth Circuit, pursuant to Fed.
16   R. Civ. P. 62.1(a)(3), that the motion raises a substantial issue. The Court would then
17   have to wait to decide the issue until such time as the Supreme Court lifts its stay and
18
     the Ninth Circuit remands the case to permit clarification of the Court’s order.
19
20   V.   ON REMAND, THE COURT SHOULD HOLD THE SELECT
21        COMMITTEE TO ITS PRIOR REPRESENTATIONS.

22
            The Select Committee made tactical decisions to make both written and oral
23
     representations to this Court about its interest in patient telephone numbers. Neither
24
     this Court, nor Judge Ikuta in her dissenting opinion, misunderstood those
25
     representations. There is no way for Plaintiffs to know whether or to what extent those
26
27   representations impacted the Court’s rulings on Plaintiffs’ Motion to Quash or its

28   Motion for a Stay pending appeal. The fact that this Court took pains to memorialize
     those representations in its written orders suggests that those representations had at least



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 1   some impact. Indeed, the Court specifically pointed out that the Select Committee’s
 2   representation had materially changed the status quo of this case since its inception.
 3   (Doc. 68 at 7.)
 4
 5           Regardless of their impact on the Court’s rulings, the Select Committee should

 6   not be permitted to play fast and loose with its intentions when arguing hotly contested
 7   motions relating to unprecedented matters of such importance that they are now being
 8   scrutinized by the Supreme Court. The Select Committee’s investigation is civil in
 9   nature. Protective orders and discovery protocols are standard in civil litigation. The
10   time crunch the Select Committee may now face is entirely of its own making by
11   requesting five extensions. There remains time to do this right. If the case is remanded,
12
     the Select Committee should be ordered to engage with Plaintiffs in the discussion of
13
     an appropriate protective order and discovery protocol to protect the patient information
14
     the Select Committee agreed it would protect. Those discussions would already be
15
     under way if the Committee had been willing to live up to its previous commitments to
16
     this Court.
17
18                                    CONCLUSION
19
           Based on the foregoing, Plaintiffs respectfully ask that the Court deny T-Mobile’s
20
     motion for clarification, without prejudice, or defer ruling until such time that the case
21
     may be remanded.
22
23
24         DATED this 31st day of October 2022

25
26                                                                  By: /s/ Alexander Kolodin

27
28                                                                         Alexander Kolodin
                                                                            Roger Strassburg



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 1                             CERTIFICATE OF SERVICE

 2   I hereby certify that on October 31st, 2022, I electronically submitted the foregoing
 3   document to the Clerk’s Office using the CM/ECF system for filing and transmittal of a
 4   Notice of Electronic Filing to the CM/ECF registrants on record.
 5
 6                                                                By: /s/ Alexander Kolodin

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